  Case 3:06-cr-00350-CCC         Document 74      Filed 06/04/07    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 06-0350CCC
 1) LUIS BORRERO-RODRIGUEZ
 a/k/a Pelón
 2) DOMINGO TORRES-TORRES
 a/k/a Papo Pelón
 30 NORMA BORRERO-DEYNES
 a/k/a Yiyi
 4) ZULMA TORRES-ORTIZ
 5) ENRIQUE TORRUELLA-TORRES
 a/k/a Kike
 Defendants
                                        ORDER
       Having considered the Motion to Suppress Audio Tapes Under United States v. Carbone
filed by defendant Domingo Torres-Torres on February 5, 2007 (docket entry 48), the United
States’ response filed on February 14, 2007 (docket entry 56), and the Report and
Recommendation issued by U.S. Magistrate-Judge Bruce J. McGiverin on March 2, 2007
(docket entry 63), to which no objections have been filed, said Report and Recommendation
is APPROVED and ADOPTED and the Motion to Suppress Audio Tapes is DENIED. The
Court expressly notes, after listening to both tapes (N-40 and N-41), that everything that was
said by the speakers was perfectly audible to the undersigned in both tapes.
       The United States’ Motion to Seal (docket entry 58) is GRANTED. The United States’
Motion in Compliance With U.S. Magistrate-Judge’s Order (docket entry 59) is NOTED.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 4, 2007.


                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
